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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 JOSEPH J. VALENCINO, III                                          CIVIL ACTION
 VERSUS                                                            NO: 20-76
 DAVID T. COLE, ET AL                                              SECTION: "S" (4)


                                    ORDER AND REASONS

       IT IS HEREBY ORDERED that defendants' Motions in Limine to exclude the

disclosure of insurance limits, to exclude hypothetical questions, and to exclude opinion

testimony by lay witnesses (Rec. Doc. 14) are GRANTED as unopposed;

       IT IS FURTHER ORDERED that defendants' Motion in Limine to exclude cost

projection on speculative future treatment (Rec. Doc. 14) is DENIED as premature;

       IT IS FURTHER ORDERED that plaintiff's Daubert Motion to Strike Testimony of

Michael R. Hill, Ph.D. (Rec. Doc. 16) is GRANTED in part and DENIED in part. To the

extent plaintiff moves to exclude Hill's opinions regarding medical causation, the motion is

GRANTED. As to Hill's opinions on the biomechanics of the collision, the motion is DENIED.

                                         BACKGROUND

       This matter arises out of a motor vehicle accident, in which plaintiff, while waiting at a

traffic signal at the intersection of Airline Drive and Clearview Parkway, was struck from behind

by an 18-wheeler driven by defendant, David Cole. Plaintiff allegedly suffered injuries to his

neck and shoulders. His treating physician is recommending C5-6 and C6-7 anterior discectomy

and cervical fusion. Plaintiff has been receiving epidural steroid injections, and as of the time the
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instant motions were filed, he had not determined if he would pursue the surgery or continue

with a less invasive approach, including steroid injections and medical pain management.

Plaintiff retained Stephanie Haupt, a certified rehabilitation counselor and life care planner, to

develop a life care plan which includes cost projections for plaintiff's treatment under both

scenarios.

                                           DISCUSSION

I.     Defendants' Motion in Limine1

       Defendants have moved to exclude the annual costs of medications projected in

Stephanie Haupt's Life Care Plan, on the grounds that it is speculative because it provides an

annual pain medication cost, but does not include life expectancy information necessary to

determine how many years of medication would be required. Haupt's report states that an

economic analyst is required to make that determination. According to defendants,2 at his

deposition, plaintiff's treating physician declined to estimate future medication use, stating that it

should be determined by a pain management specialist. Defendants argue that in the absence of

expert testimony on how long the pain medications will be required, the annual costs estimate is

purely speculative and should be excluded.



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         Defendants also moved for in limine rulings to exclude the disclosure of insurance
limits, to exclude hypothetical questions, and to exclude opinion testimony by lay witnesses,
which were unopposed. Accordingly, those portions of defendants' motion are granted as
unopposed.
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        In connection with this assertion in their memorandum, Rec. Doc. 14-1 at p. 2,
defendants stated that they would supplement the motion with plaintiff's physician's deposition
testimony. Id. at n.10. None of the subsequently submitted deposition excerpts address this point.

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        Defendants have also moved to exclude any future projected costs of the fusion surgery,

because plaintiff has not indicated that he will definitely opt for the surgery, and thus such

damages are speculative.

        In this case, plaintiff will definitely need one or the other: either ongoing pain

medication, or the surgery. At this juncture, it is uncertain which route plaintiff will pursue, nor

is it known what the evidence will establish at trial. For instance, while plaintiff's treating

physician deferred to a pain management specialist for a definitive opinion on future

medications, he may testify at trial that plaintiff will need medications for some minimum

period. As for the uncertainty surrounding whether plaintiff will actually have surgery, the court

will not penalize the plaintiff for taking a conservative, "wait and see" approach to a very serious

surgery. Accordingly, the motion is denied as premature.

II.     Plaintiff's Daubert Motion

        Plaintiff has moved to strike the testimony of defendants' biomechanics expert, Michael

R. Hill, Ph.D. and to prohibit the use of his report at trial. Hill reached the following conclusions

in his report, which defendants seek to present at trial:

        1. As a result of the contact between the front of the tractor and the rear of the
        Toyota, the Toyota experienced a forward-directed change in speed (delta-V) of
        less than 6 miles per hour (mph) and likely 3 mph or lower.

        2. The motion of the Toyota occupant was initially rearward with respect to the
        vehicle’s interior, followed by a subsequent lesser forward rebound motion due to
        the elastic properties of the seat back and headrest.

        3. The loads that the cervical or lumbar spinal tissues of the occupant of the
        Toyota would have undergone would be well within levels that these tissues
        would undergo during routine activities of daily living (ADLs).


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       4. Cervical strain and consequent headaches cannot be ruled out as resulting from
       the dynamics of this rear accident, while lumbar strains and spinal ligament
       sprains or other tissue damage or degeneration to the spine would not be
       consistent with these dynamics.

       5. Mr. Valencino was diagnosed with intervertebral disc (IVD) herniation in the
       cervical spine. The mechanism for acute spinal disc herniation, in the absence of
       bony fractures or ligament tears, is combined forced compression and
       hyperflexion. There would have been no mechanism in the accident to induce
       meaningful spinal flexion or forced compression to the spine. Therefore, the
       mechanisms associated with acute IVD herniations were not consistent with
       resulting from the mechanics of this accident.

       6. There were no mechanisms in the accident that could account for meaningful
       structural damages to the occupants’ cervical, thoracic, or lumbar spine or
       extremities, or degenerative changes to those anatomic regions. Therefore,
       exacerbation of any pre-existing tissue damage or degeneration of the spine of the
       Toyota occupant would not be consistent with the dynamics of this accident.

Plaintiff argues that Hill's testimony is prejudicial, because the jury may confuse him for a

neurosurgeon or other medical doctor, and that the bases of Hill's expert report are flawed

because he did not examine the vehicle, "calulate[] the plaintiff's spine condition at the time of

impact", or do speed calculations. In essence, plaintiff complains that Hill is a biomechanical

engineer offering expert medical opinions, which are outside of his expertise. Plaintiff also

contends those medical opinions are cumulative of the defendants' IME physician's testimony.

Applicable Law

       Federal Rule of Evidence 702 provides that for expert testimony to be admissible, “(1)

the testimony [must be] based upon sufficient facts or data, (2) ... the product of reliable

principles and methods, and (3) the witness [must have] applied the principles and methods

reliably to the facts of the case.” FED. R. EVID. 702. This rule requires the district court to act as



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a gatekeeper to ensure that “any and all scientific testimony or evidence admitted is not only

relevant, but reliable.” Daubert, 509 U.S. at 589.

       Expert testimony is relevant if it fits the facts of the case and will “assist the trier of fact

to understand or determine a fact in issue.” Id. at 592. The goal is to exclude expert testimony

that is based merely on subjective belief or unsupported speculation. Id. at 590. The party

offering the testimony bears the burden of establishing its reliability by a preponderance of the

evidence. See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).

       In determining reliability, courts may rely on factors discussed by the Daubert court,

such as “whether the theory or technique the expert employs is generally accepted; whether the

theory has been subjected to peer review and publication; whether the theory can and has been

tested; whether the known or potential rate of error is acceptable; and whether there are

standards controlling the technique's operation.” Broussard v. State Farm Fire and Cas. Co., 523

F.3d 618, 630 (5th Cir. 2008). “The factors identified in Daubert may or may not be pertinent in

assessing reliability, depending on the nature of the issue, the expert's particular expertise, and

the subject of his testimony.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150 (1999) Rather,

the reliability inquiry must remain flexible because “not every Daubert factor will be applicable

in every situation; and a court has discretion to consider other factors it deems relevant.” Guy v.

Crown Equip. Corp., 394 F.3d 320, 325 (5th Cir. 2004).

       Rule 702 also requires that an expert be properly qualified. Generally, if there is some

reasonable indication of qualifications, the court may admit the expert's testimony, and then the

expert's qualifications become an issue for the trier of fact. Rushing v. Kansas City S. Ry. Co.,


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185 F.3d 496 (5th Cir. 1999), superseded by statute on other grounds, as noted in Mathis v.

Exxon Corp., 302 F.3d 448, 459 n.16 (5th Cir. 2002).

Application to Facts of Case

       Plaintiff does not challenge Hill's credentials as a biomechanical engineer, and the court's

review of his curriculum vitae reflects that Hill holds a Ph.D. in bioengineering, has completed

continuing education on biomechanics and crash investigation, has published 15 peer-reviewed

academic papers, and has been accepted as an expert in numerous trials. Plaintiff's issue related

to Hill's qualifications is that while Hill is not a medical doctor, the jury may mistake him for

one, and his testimony addresses medical causation. Confusion regarding whether or not Hill is a

medical doctor can be easily cleared up on cross-examination, and Hill will not be permitted to

testify on medical causation issues beyond his expertise. The court recognizes that depending on

how they are presented, the opinions in paragraphs four through six above border on causation

opinions. At trial, the court will restrict Hill's testimony to the biomechanics of the collision,

including “what injury causation forces are in general” and “how a hypothetical person's body

will respond to those forces.” Williby v. Nat'l Cas. Co., 2020 WL 6559409, at *2 (E.D. La. Nov.

9, 2020)(internal quotations and citations omitted).

       In objecting to Hill's reliability, plaintiff does not challenge Hill on the typical Daubert

grounds, that is, he does not argue that the technique employed by Hill is not generally accepted,

that his theory has not been peer-reviewed, or that it cannot be tested. See Broussard v. State

Farm Fire and Cas. Co., 523 F.3d 618, 630 (5th Cir. 2008). Rather, plaintiff contends that in

forming his opinion, Hill did not account for certain factors that plaintiff deems essential. This is


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a challenge directed to the bases and sources of Hill's opinion. “[Q]uestions relating to the bases

and sources of an expert's opinion affect the weight to be assigned that opinion rather than its

admissibility and should be left for the jury's consideration.” United States v. 14.38 Acres of

Land, 80 F.3d 1074, 1077 (5th Cir. 1996). “[T]he trial court's role as gatekeeper is not intended

to serve as a replacement for the adversary system: ‘Vigorous cross-examination [and]

presentation of contrary evidence ... are the traditional and appropriate means of attacking shaky

but admissible evidence.” Id. at 1078, citing Daubert, 509 U.S. at 596. Accordingly, at trial,

plaintiff may cross-examine Hill on his decision not to include certain facts in forming his

opinion, and the jury can give it the weight it deserves. The court finds that Hill's testimony

should not be excluded on reliability grounds.

       With respect to the contention that Hill's testimony is cumulative of the testimony of

defendants' IME physician, as noted above, Hill will be testifying within his area of expertise,

biomechanical engineering, not on the medical causation issues in this case. Therefore, it is not

cumulative. Accordingly,

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disclosure of insurance limits, to exclude hypothetical questions, and to exclude opinion

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GRANTED. As to Hill's opinions on the biomechanics of the collision, the motion is DENIED.

       New Orleans, Louisiana, this _____
                                     15th day of April, 2021.


                          ____________________________________
                               MARY ANN VIAL LEMMON
                           UNITED STATES DISTRICT JUDGE




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